              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:16-cr-00016-MR-DLH-5


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
                 vs.            )                ORDER
                                )
                                )
CRAIG VINSHUN MOSELY,           )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court upon the Defendant’s Notice of

Appeal of Detention Hearing. [Doc. 100].

      The Defendant, through counsel, appeals the detention order [Doc. 96

entered by the Magistrate Judge on June 22, 2016. As his sole grounds for

appeal, the Defendant argues that the Magistrate Judge “erred in ordering

him detained.” [Doc. 100 at 1].

      In reviewing a motion to revoke or amend an order of detention, the

Court reviews the Magistrate Judge’s Order de novo.          United States v.

Stewart, 19 F. App’x 46, 48 (4th Cir. 2001). The Court “must make an

independent determination of the proper pretrial detention or conditions of

release.” Id.



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      Upon careful review of the record, the Court agrees with the Magistrate

Judge that there is clear and convincing evidence that the release of the

Defendant would create a risk of harm or danger to another person or the

community. See 18 U.S.C. § 3142(g)(4). Having conducted an independent

review of the record, the Court concludes that the Magistrate Judge carefully

considered each factor set forth in 18 U.S.C. § 3142(g) and properly

concluded that detention is warranted in this case. Accordingly, the Court

will affirm the Defendant’s detention pending trial.

      IT IS, THEREFORE, ORDERED that the Defendant’s Notice of Appeal

of Detention Hearing [Doc. 100] is DENIED, and the Order of Detention [Doc.

96] is hereby AFFIRMED.

      IT IS SO ORDERED.
                                  Signed: July 7, 2016




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